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 1   THOMAS F. PITARO, ESQ.
 2
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     Las Vegas, NV 89101
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     Attorney for Defendant JUAN LUIS SOSA TAMAYO
 6

 7                               UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,                                :   Case No. 2:20-cr-00194-JAD-DJA
10
                                               :
11
                 Plaintiff,                    :
12                                             :
                         v.                    :                     STIPULATION TO CONTINUE
13                                             :                     SENTENCING
                                               :
14
                                               :                     1st Request
15   JUAN LUIS SOSA TAMAYO et. al,             :
                                               :
16               Defendants.                   :
     __________________________________________:
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18          IT IS HEREBY STIPULATED AND AGREED, by and between Eric C. Schmale,

19   Assistant United States Attorney, counsel for the United States (hereinafter “the Government”),
20
     and Thomas F. Pitaro, counsel for defendant Juan Sosa Tamayo (collectively, “the Parties”), that
21
     the sentencing scheduled for December 13, 2022, at 10:00 a.m., be vacated to a date and time
22

23
     convenient to the court, but not earlier than 60 days.

24          The Stipulation is entered into for the following reasons:
25          1.      The additional time requested herein is not sought for purposes of delay.
26
            2.      Counsel Thomas Pitaro, attorney for Juan Sosa Tamayo, needs additional time to
27
     prepare for sentencing.
28



                                                      1
            Case 2:20-cr-00194-JAD-DJA Document 168 Filed 11/23/22 Page 2 of 4



 1          3.      Counsel Thomas Pitaro, attorney for Juan Sosa Tamayo, has a medical procedure
 2
     and needs additional time to recover.
 3
            4.      Counsel has spoken to Defendant and he has no opposition to the continuance.
 4

 5
            5.      Counsel has spoken to the Government and he has no opposition to the

 6   continuance.
 7          6.      The parties agree to the continuance.
 8
            7.      The additional time requested herein is not sought for purposes of delay, but
 9
     merely to allow counsel for defendants sufficient time within which to be able to effectively
10

11   prepare for sentencing, taking into account the exercise of due diligence.

12          8.      Denial of this request for continuance would deny counsel for sufficient time to
13
     effectively represent the defendant.
14
         This is the first Stipulation to continue the sentencing and related dates in this matter.
15

16
            DATED: This 23rd day of November, 2022.
17
     PITARO & FUMO, CHTD.                                   JASON M FRIERSON
18                                                          UNITED STATES ATTORNEY
19
     By /s/ Thomas Pitaro                                   By /s/ Eric Schmale
20   THOMAS F. PITARO                                       Eric C. Schmale
     Counsel for Defendant Juan Sosa Tamayo                 Assistant United States Attorney
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 2
                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                 : Case No. Case No. 2:20-cr-00194-JAD
 4                                             :
 5
                 Plaintiff,                    :
                                               :
 6               v.                            :     ORDER
     JUAN LUIS SOSA TAMAYO et. al,             :
 7                                             :
 8               Defendants.                   :
     __________________________________________:
 9

10
                                          FINDINGS OF FACT
11
            Based on the pending Stipulation of counsel, and good cause appearing therefore, the
12
     Court finds that:
13

14          1. The additional time requested herein is not sought for purposes of delay.

15          2.      Counsel Thomas Pitaro, attorney for Juan Sosa Tamayo, needs additional time to
16
     prepare for sentencing.
17
            3.      Counsel Thomas Pitaro, attorney for Juan Sosa Tamayo, has a medical procedure
18
     and needs additional time to recover.
19

20          4.      Counsel has spoken to Defendant and he has no opposition to the continuance.

21          5.      Counsel has spoken to the Government and he has no opposition to the
22
     continuance.
23
            6.      The parties agree to the continuance.
24

25          7.      The additional time requested herein is not sought for purposes of delay, but

26   merely to allow counsel for defendants sufficient time within which to be able to effectively
27
     prepare for sentencing, taking into account the exercise of due diligence.
28



                                                      3
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                                               165 Filed 11/23/22 Page 4 of 4



 1          8.      Denial of this request for continuance would deny counsel for sufficient time to
 2
     effectively represent the defendant.
 3
     This is the first Stipulation to continue the sentencing and related dates in this matter.
 4

 5                                                  ORDER

 6          IT IS THEREFORE ORDERED that the sentencing currently set for December 13,
 7   2022 at 10:00 a.m., is vacated and continued to February 27, 2023, at 3:00 p.m.
 8
            DATED this 23rd day of November, 2022.
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                                                    ____________________________________
11                                                  UNITED STATES DISTRICT JUDGE

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